Case 2:05-cV-02389-.]DB-tmp Document 3 Filed 08/01/05 Page 1 of 5 Page|D 1

Fu.s:) sw __. D.C.

IN THE UNITED STATES DISTRICT COURT

FOR THE WES'I'ERN DISTRICT OF' 'I'ENNESSEE 05 AUG_! AHH. 00

WESTERN DIVISION
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DEBORAH K. JACKSON,
Plaintiff,

vS' No. 05-2389-B/P

ovERToN PARK HEALTH
CARE cENTER, et al.,

Defendants.

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ORDER GRANTING LEAVE TO PROCEED lN FORMA PAUPERIS
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER OF PARTIAL DISMISSAL
AND
ORDER TO ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff Deborah K. Jackson filed a pro §§ complaint pursuant

to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et

seg., on May 25, 2005, along with a motion seeking leave to proceed
in forma pauperis. Based on the information set forth in the

plaintiff’s affidavit, the motion to proceed in ;Q;ma pauperis is
GRANTED. The Clerk shall record the defendants Overton Park Health
Care Center and John White.

The plaintiff has filed. a motion seeking appointment of
counsel. Two statutes authorize the district court to request or
appoint counsel for an indigent Title VII plaintiff. Twenty-eight

U.S.C. § 1915(d) provides that the “court may request an attorney

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Case 2:05-cV-O2389-.]DB-tmp Document 3 Filed 08/01/05 Page 2 of 5 Page|D 2

to represent any such person unable to employ counsel.”1
Similarly, under 42 U.S.C. § 2000e-5(f)(1), “upon application by
the complainant and in such circumstances as the court may deem
just, the court may appoint an attorney.” However, “[t]here is no
constitutional or . . . statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).
Generally, a court will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977). Although “no comprehensive definition of exceptional
circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (5th

Cir. 1982), courts resolve this issue through. a fact-specific

inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the

Court analyzes the merits of the claims, the complexity of the
case, the p;Q se litigant’s prior efforts to retain counsel, and
her ability to present the claims. Henry' v. City of Detroit
Manpower Dep’t, 763 F.Zd 757, 760 (6th Cir. 1985); Wiggins v.
Sargent, 753 F.2d 663, 668 (Bth Cir. 1985).

As a general rule, counsel should be appointed in civil cases
only if a litigant has made “a threshold showing of some likelihood
of merit.” Cooper v. A. Sarqenti Co., 877 F.2d 170, 174 (2d Cir.

1989).2 At this stage of the proceedings, before the Court has had

 

1 However, “§ 1915(d) does not authorize the federal courts to make

coercive appointments of counsel” to represent indigent civil litigants. Mallard
v. United States Dist. Court, 490 U.S. 296, 310 (1989).

2 The Second Circuit elaborated: “Courts do not perform a useful
service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer

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Case 2:05-cV-O2389-.]DB-tmp Document 3 Filed 08/01/05 Page 3 of 5 Page|D 3

the opportunity to assess the strength of plaintiff's case, the
Court is unable to conclude that plaintiff has satisfied that
standard. Moreover, a review of this complaint indicates that the
case is not so complex that the Court should exercise its
discretion to appoint counsel at this time. Furthermore, it does
not appear from the affidavit supporting plaintiff's motion that
she will be unable to obtain counsel on her own. The motion for
appointment of counsel is DENIED.

There is no remedy under the employment discrimination
statutes against managing or supervisory employees in their
individual capacity. Wathen v. General Electric Co., 115 F.3d 400,
405-06 (6th Cir. 1997). Therefore plaintiff has no claim against
John White under the employment discrimination statutes.

Accordingly, any claims against John White lack an arguable
basis either in law or in fact and the claims against them are,
therefore, DISMISSED as frivolous. gee Denton v. Hernandez, 504
U.S. 25, 3l (1992}; Neitzke v. Williams, 490 U.S. 319, 325 (1989).

It is ORDERED that the Clerk shall issue process for the
defendant Overton Park Health Care Center and deliver said process
to the marshal for service. Service shall be made on the defendant
pursuant to Fed. R. Civ. P. 4(h)(1). Service on the defendant shall
include a copy' of this order. All costs of service shall be
advanced by the United States.

It is ORDERED that the plaintiff shall serve a copy of every

further document filed in this cause on the attorney for the

 

for a meritless case that no lawyer would take were the plaintiff not indigent."
Id.

Case 2:05-cV-O2389-.]DB-tmp Document 3 Filed 08/01/05 Page 4 of 5 Page|D 4

defendant or on the defendant if it has no attorney. The plaintiff
shall make a certificate of service on every document filed. The
plaintiff shall familiarize herself with the Federal Rules of Civil
Procedure and this Court’s local rules.

The plaintiff shall promptly notify the Clerk of any change of
address or whereabouts. Failure to comply with these requirements,
or any other order of the Court, may result in this case being
dismissed without further notice.

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IT rs so 0RDERED this §{ y of July, 2005.

 
 

    

 

J. DANIEL BREEN
UN TED STATES DISTRIC JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02389 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

Deborah Kay Jackson
1658 Michigan St.
l\/lemphis7 TN 38106

Honorable J. Breen
US DISTRICT COURT

